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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA,                                 23-Cr-490 (SHS)

                 -v-                                      ORDER

ROBERT MENENDEZ, NADINE
MENENDEZ, WAEL HANA, JOSE
URIBE, and FRED DAIBES,

                          Defendants.

------------------------------------------------------x

SIDNEY H. STEIN, U.S. District Judge.

        The government has submitted a proposed protective order pursuant to Fed. R. Crim. P.
16(d) to the Court and the government represents that "defense counsel objects to certain aspects
of the proposed protective order" [Doc. No. 45].

        Defense counsel is directed to set forth in writing in a single submission on or before 5 :00
p.m. on Friday, October 6, its objections, if any, to the proposed protective order and the basis
for those objections. The government may reply by noon on Tuesday, October 10.

Dated: New York, New York
       October 5, 2023

                                                          SO ORDERED:
